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                    EXHIBIT F
                    "DOT Memo"
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Attention: Heads of Secretarial Offices and Operating Administrations (OA)

Overview: The Office of the Assistant Secretary for Transportation Policy (OST-P) is
providing guidance on competitive award selections made after January 20, 2021, that do
NOT have fully obligated grant agreements or cooperative agreements in place.

Projects with executed grant agreements in place that are fully obligated are not subject to
the guidance below. For selections with partially obligated grant agreements, the same
review should take place before awarding subsequent phases or adding additional funds to
an existing grant agreement. Additional guidance will be provided regarding revisions to
standard terms and conditions appearing in draft grant agreements or templates.

Summary: All competitive grant and cooperative agreement award selections must
comply with current Administration priorities and Executive Orders (EO) that address
energy, climate change, diversity and gender, and economic analysis, and other
priorities. Applicable Executive Orders and Memoranda include:

   •   Executive Order 14148, Initial Rescissions of Harmful Executive Orders and Actions;

   •   Executive Order 14154, Unleashing American Energy

   •   Executive Order 14151, Ending Radical and Wasteful Government DEI Programs and
       Preferencing

   •   Executive Order 14168, Defending Women from Gender Ideology Extremism and
       Restoring Biological Truth to the Federal Government

   •   Secretarial Order 2100.7, Ensuring Reliance Upon Sound Economic Analysis in
       Department of Transportation Policies, Programs, and Activities

   •   Secretarial Memorandum on Implementation of Executive Orders Addressing
       Energy, Climate Change, Diversity, and Gender

This guidance provides direction for identifying award selections without fully obligated
grant agreements that do not comply with these priorities.

ACTION: For projects announced from FY 2022 through FY 2025, review all award
selections without grant agreements and partially obligated grant agreements. The focus of
this review is to identify project scope and activities that are allocating funding to advance
climate, equity, and other priorities counter to the Administration’s Executive Orders.

Step 1: Program Identification. Identify Programs for which award selections may have
included any of the following elements: equity activities, Diversity, Equity, and Inclusion
(DEI) activities, climate change activities, environmental justice (EJ) activities, gender-
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specific activities, when the primary purpose is bicycle infrastructure (i.e., recreational
trails and shared-use paths, etc.), electric vehicles (EV), and EV charging infrastructure.
Additionally, project-by-project review of selections to identify any project scope elements
for potential removal are required for any Programs that meet the criteria below:

   •   Statutory language includes equity requirements, climate considerations, or bicycle
       infrastructure.
   •   NOFO mandatory evaluation criteria includes equity and/or climate requirements.
   •   Eligible activities included bicycle infrastructure, EV and/or EV charging
       infrastructure.

Programs that do not meet the criteria above should be shared with the OA Administrator or
equivalent OST leadership for concurrence/confirmation. Following OA Administrator or
equivalent OST leadership concurrence, the OST Office of Policy (OST-P) and Office of the
General Counsel (OGC) will provide final confirmation on whether a program is required to
conduct a project-by-project review. If OST-P and OGC confirm that a project-by-project
review is not required, offices may proceed with negotiating and finalizing grant
agreements. If OST-P and OGC confirm that project-by-project review is required, offices
should proceed to Step 2. Please submit review requests to the OST Policy Board
at OSTPolicyBoard@dot.gov.

Step 2: Project-by Project Review. Programs that require further review shall have
Program Teams examine each individual project to identify those award selections that
have project scopes that include any of the project elements listed in Step 1 (i.e. equity
activities, DEI activities climate change activities, etc.). Those Teams should document
their project-by-project examination and flag any project scope elements or activities for
potential removal, including:

   •   Project activities such as equity analysis, green infrastructure, bicycle
       infrastructure, EV and/or EV charging infrastructure.
   •   Project purpose or primary project benefits include equity and/or climate such as-
       projects that purposefully improve the condition for EJ communities or actively
       reduce GHG emissions.

Note: If project scope elements are based in statute, program offices should consult with
applicable legal counsel, and following legal concurrence, raise any proposed scope
changes to OA leadership.

OA leadership shall review the findings from the Team review, and recommend to OST-P
and OGC which project selections should:
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   a. Continue in their current form with no change;
   b. Be revised with a reduced or modified scope; or
   c. Be canceled entirely.

Step 3: Project Scope Revision. Award selections identified in Step 2.b must update
project scopes to eliminate flagged activities, and where possible replace identified
elements with relevant elements that align with program statute, the scope of the
application submission, and current Administration EOs.

Where the scope of the project includes elements noted above, Teams should negotiate
with project sponsors to update project scopes to eliminate and, where possible, replace
those identified elements with relevant elements that align with the program statute, the
original scope of the application submission, and current Administration EOs.

   a. If the project sponsor agrees to proceed with scope changes, proceed to grant
      agreement formulation and execution. The project sponsor may propose alternative
      project elements to substitute for the redline elements that should be removed as
      long as they 1) align with the program statute, 2) are consistent with the purposes of
      the original scope of the application submission, and 3) align with current
      Administration EOs.

   b. If the project sponsor does not agree to remove project elements noted in Step 2
      and replace with acceptable alternative scope, then the Team should proceed with
      a reduced award that removes the flagged scope and activities.
